Case 8:17-cv-00816-SDM-JSS Document 22 Filed 10/03/17 Page 1 of 1 PageID 73




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION




   BRIAN RANDOLPH,

        Plaintiff,

   v.                                                CASE NO. 8:17-cv-816-T-23JSS

   ENCORE RECEIVABLE
   MANAGEMENT, INC.,

         Defendant.
   ____________________________________/


                                       ORDER

        In accord with the parties’ stipulation (Doc. 21), the action is DISMISSED

   WITH PREJUDICE.

        ORDERED in Tampa, Florida, on October 3, 2017.
